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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )    No. CR-05-168-LRS-4
                        Plaintiff,              )
 9                                              )    UNOPPOSED ORDER MODIFYING
      v.                                        )    RELEASE CONDITIONS AND
10                                              )    RELEASING DEFENDANT FROM
      PATRICK CALDWELL,                         )    GEIGER CORRECTIONS FACILITY
11                                              )    TO HIS MOTHER AND STEPFATHER
                        Defendant.              )
12                                              )

13         At the unopposed recommendation of Defendant’s supervising

14   Pretrial Services Officer, the Defendant shall be released to live

15   with his mother and stepfather.           Defendant previously was released

16   to live in a Community Corrections Center.                     The conditions of

17   release in this court’s Orders filed August 29, 2005, and March 6,

18   2006, are MODIFIED as follows:

19         1.     Defendant shall reside with his mother and stepfather

20   pending the Defendant’s sentencing, currently scheduled for July 18,

21   2006.      Defendant’s mother and stepfather have agreed to supervise

22   the Defendant, and they shall report any violations of conditions of

23   release to the U.S. Probation Office.                    Defendant’s siblings may

24   assist with the supervision of Defendant.                Defendant shall complete

25   and return to the court an updated A.O. Form 199C within two

26   business days of release.         Defendant shall contact his supervising

27   Pretrial Services Officer within two business days of his release.

28
     UNOPPOSED ORDER MODIFYING RELEASE CONDITIONS
     AND RELEASING DEFENDANT FROM GEIGER CORRECTIONS
     FACILITY TO HIS MOTHER AND STEPFATHER - 1
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 1         2.     In addition to having no contact with co-defendants or
 2   witnesses, except in the presence of counsel (condition of release
 3   no. 13, Ct. Rec. 11), Defendant shall not have contact, direct or
 4   indirect, with convicted felons or others engaged in criminal
 5   activity.      In addition, Defendant shall not have unsupervised
 6   contact with his sister Jan Bunton.
 7         3.     Defendant shall have a curfew of 10:00 p.m. to 7:00 a.m.
 8         4.     Defendant      shall   undergo     urinalysis      testing    at     the
 9   direction of the U.S. Probation Office, but no more than six times
10   per month.
11         All other conditions of release shall remain in effect.
12         IT IS SO ORDERED.
13         05cr1DATED May 18, 2006.
14
15                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     UNOPPOSED ORDER MODIFYING RELEASE CONDITIONS
     AND RELEASING DEFENDANT FROM GEIGER CORRECTIONS
     FACILITY TO HIS MOTHER AND STEPFATHER - 2
